 Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5732 Page 1 of 18




     JOSEPH H. HUNT                              Lee Gelernt*
 1
     Assistant Attorney General                  Judy Rabinovitz*
 2   SCOTT G. STEWART                            Anand Balakrishnan*
     Deputy Assistant Attorney General           AMERICAN CIVIL LIBERTIES
 3
     WILLIAM C. PEACHEY                          UNION FOUNDATION
 4   Director                                    125 Broad St., 18th Floor
 5   Office of Immigration Litigation            New York, NY 10004
     WILLIAM C. SILVIS                           T: (212) 549-2660
 6   Assistant Director                          F: (212) 549-2654
 7   Office of Immigration Litigation            lgelernt@aclu.org
     SARAH B. FABIAN                             jrabinovitz@aclu.org
 8   Senior Litigation Counsel                   abalakrishnan@aclu.org
 9   NICOLE MURLEY
     Trial Attorney                              Bardis Vakili (SBN 247783)
10   Office of Immigration Litigation            ACLU FOUNDATION OF
11   U.S. Department of Justice                  SAN DIEGO & IMPERIAL
     Box 868, Ben Franklin Station               COUNTIES
12   Washington, DC 20442                        P.O. Box 87131
13   Telephone: (202) 532-4824                   San Diego, CA 92138-7131
     Fax: (202) 616-8962                         T: (619) 398-4485
14                                               F: (619) 232-0036
15 ADAM L. BRAVERMAN                             bvakili@aclusandiego.org
   United States Attorney
16 SAMUEL W. BETTWY                              Stephen B. Kang (SBN 292280)
17 Assistant U.S. Attorney                       Spencer E. Amdur (SBN 320069)
   California Bar No. 94918                      AMERICAN CIVIL LIBERTIES
18 Office of the U.S. Attorney                   UNION FOUNDATION
19 880 Front Street, Room 6293                   39 Drumm Street
   San Diego, CA 92101-8893                      San Francisco, CA 94111
20 619-546-7125                                  T: (415) 343-1198
21 619-546-7751 (fax)                            F: (415) 395-0950
                                                 skang@aclu.org
22 Attorneys for Federal Respondents-            samdur@aclu.org
23 Defendants
                                                 Attorneys for Petitioners-
24                                               Plaintiffs
25                                               *Admitted Pro Hac Vice
26
27
28
 Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5733 Page 2 of 18




 1
                               UNITED STATES DISTRICT COURT
 2                           SOUTHERN DISTRICT OF CALIFORNIA
 3
          MS. L, et al.,                                Case No. 18cv428 DMS MDD
 4
 5                   Petitioners-Plaintiffs,
                                                        JOINT STATUS REPORT
 6         vs.
 7
          U.S. IMMIGRATION AND
 8        CUSTOMS ENFORCEMENT, et
 9        al.,

10                   Respondents-Defendants.
11
12
          The Court ordered the parties to file a joint status report on March 6, 2019, in
13
14 anticipation of the status conference scheduled at 3:00pm PST on March 7, 2019.
15 The parties submit this joint status report in accordance with the Court’s instruction.
16
   I.    DEFENDANTS’ POSITIONS
17
18    A. Update on Reunifications

19         As of March 4, 2019, Defendants have discharged 2,741 of 2,816 possible
20
     children of potential class members. 1 See Table 1: Reunification Update. This is an
21
22 increase of six discharges reported in Table 1 since the Joint Status Report (JSR)
23
24
     1
25   As explained in the data table below and in prior status reports, Defendants have
   determined that some children originally counted in this number are not, in fact,
26 children of class members. Defendants continue to report this number to allow for
27 transparency in their data reporting, and to minimize confusion.
28

                                               1                             18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5734 Page 3 of 18



     filed on February 20, 2019. See ECF No. 360. All six children were discharged under
 1
 2 other appropriate circumstances, such as discharges to appropriate sponsors or
 3
     discharges of minors who turned 18 years old.
 4
 5         There are now four children in ORR care proceeding towards reunification or

 6 other appropriate discharge. The current status of these four children is as follows:
 7
               One child has a parent who is in the United States, but who is
 8
 9               unavailable because the parent is in other federal, state, or local

10               custody. Defendants are working to appropriately discharge the child,
11
                 and to identify any possible barriers to discharge, meeting and
12
13               conferring with Plaintiffs where appropriate for resolution.

14             Three children have parents who departed from the United States. The
15
                 Steering Committee has not yet provided notice of parental intent
16
17               regarding reunification (or declination of reunification) for two of these

18               children. For the third child, the Steering Committee has advised
19
                 Defendants that it is unable to obtain the parent’s preference, and
20
21               regards this case as resolved for its purposes. Defendants are supporting

22               the efforts of the Steering Committee to obtain statements of intent from
23
                 the parents of the first two children. Once Defendants receive the
24
25               notices from the Steering Committee, Defendants will either reunify the
26
27
28

                                              2                              18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5735 Page 4 of 18



                  children or move them into the TVPRA sponsorship process, consistent
 1
 2                with the intent of the parent.
 3
            The current reunification status for the 2,816 children ages 0 through 17 who
 4
 5 have been the focus of Defendants’ reporting to date is further summarized in Table
 6 1. The data in Table 1 reflects approximate numbers on these children maintained
 7
     by ORR at least as of March 4, 2019. These numbers are dynamic and continue to
 8
 9 change as more reunifications, determinations on class membership, or discharges
10 occur.
11
                               Table 1: Reunification Update
12
                                                        Phase 1   Phase 2
13                      Description                     (Under 5) (5 and Total
                                                                  above)
14
     Total number of possible children of potential    107             2709       2816
15   class members
                                   Discharged Children
16
     Total children discharged from ORR care:               106       2635        2741
17
18   • Children discharged by being reunified with          82         2073       2155
       separated parent
19   • Children discharged under other appropriate
20     circumstances (these include discharges to
       other sponsors [such as situations where the         24         562        586
21     child’s separated parent is not eligible for
22     reunification] or children that turned 18)
23
24
25
26
27
28

                                               3                              18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5736 Page 5 of 18



                          Children in ORR Care, Parent in Class
 1
     Children in care where the parent is not eligible
 2   for reunification or is not available for discharge     0           4          4
     at this time:
 3
 4   • Parent presently outside the U.S.                0        3                  3
           o Steering Committee has advised that        0        2                  2
 5            resolution will be delayed
 6         o Steering Committee has advised that it     0        1                  1
              is unable to obtain parental preference
 7   • Parent presently inside the U.S.                 0        1                  1
 8         o Parent in other federal, state, or local   0        1                  1
              custody
 9         o Parent red flag case review ongoing –      0        0                  0
10            safety and well being
11                     Children in ORR Care, Parent out of Class
     Children in care where further review shows
12   they were not separated from parents by DHS        1        12                13
13   Children in care where a final determination has
     been made they cannot be reunified because the          0           17        17
14   parent is unfit or presents a danger to the child
15   Children in care with parent presently departed
     from the United States whose intent not to              0           36        36
16   reunify has been confirmed by the ACLU
     Children in care with parent in the United States
17   who has indicated an intent not to reunify              0           5          5
18
19
       B. Update on Removed Class Members
20
           The current reunification status of removed class members is set forth in Table
21
22 2 below. The data presented in this Table 2 reflects approximate numbers maintained
23
     by ORR as of at least March 4, 2019. These numbers are dynamic and continue to
24
25 change as the reunification process moves forward.
26
27
28

                                               4                              18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5737 Page 6 of 18



                Table 2: Reunification of Removed Class Members
 1
 2   REUNIFICATION REPORTING METRIC                        NO.    REPORTING
     PROCESS                                                      PARTY
 3   STARTING      Children in ORR care with
     POPULATION    parents presently departed                39   Defs.
 4
                   from the U.S.
 5
     PROCESS 1:
 6   Identify & Resolve Children with no “red flags”         39   Defs.
     Safety/Parentage   for safety or parentage
 7   Concerns
 8   PROCESS 2:           Children with parent contact
     Establish Contact    information identified             39   Defs.
 9   with Parents in
     Country of Origin    Children with no contact
10                        issues identified by plaintiff     39   Defs. & Pls.
                          or defendant
11                        Children with parent contact
                          information provided to            39   Defs.
12                        ACLU by Government
13
     PROCESS 3:           Children for whom ACLU
14   Determine            has communicated parental          36   Pls.
     Parental Intention   intent for minor:
15   for Minor
                             • Children whose parents        36   Pls.
16                             waived reunification
17                           • Children whose parents
                                chose reunification in       0    Pls.
18
                                country of origin
19                           • Children proceeding
20                              outside the                  0    Pls.
                                reunification plan
21                        Children for whom ACLU
                          has not yet communicated           2    Pls.
22                        parental intent for minor:
23                           • Children with
                                voluntary departure          0    Defs.
24                              orders awaiting
25                              execution
                             • Children with parental        0    Defs.
26                              intent to waive
27
28

                                           5                             18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5738 Page 7 of 18




 1                                   reunification
                                     documented by ORR
 2                                • Children whose parents
 3                                   ACLU has been in
                                     contact with for 28 or      0      Pls.
 4                                   more days without
 5                                   intent determined
                               Children for whom the
 6                             Steering Committee is unable      1      Pls.
                               obtain parental preference
 7
         PROCESS 4:            Total children cleared
 8       Resolve               Processes 1-3 with confirmed      0      Pls.
         Immigration           intent for reunification in
 9       Status of Minors to   country of origin
         Allow                     • Children in ORR care
10       Reunification
                                      with orders of             0      Defs.
11                                    voluntary departure
                                   • Children in ORR care
12                                                               0      Defs.
                                      w/o orders of voluntary
13                                    departure
                                        o Children in ORR
14
                                           care whose            0      Defs.
15                                         immigration cases
16                                         were dismissed

17
18           As discussed in the last JSR, Plaintiffs have requested that the government

19 submit to them and to the Court a “baseline” number for removed parents.
20
     Defendants understand the “baseline” number to refer to the total number of possible
21
22 class members who were removed from the United States without their children, and
23 without being given the opportunity to elect or waive reunification in accordance
24
     with the preliminary injunction. Defendants have identified 471 such parents.2
25
26
     2
         This number represents all class members whose children are reported in Table 1
27
28

                                               6                               18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5739 Page 8 of 18



     Defendants reiterate that since the preliminary injunction was issued they have
 1
 2 regularly updated the Steering Committee regarding the status of departed parents
 3
     who have children remaining in ORR care, including updates and explanations about
 4
 5 why their calculation of that number has changed over time. Defendants sent the last
 6 such update on February 21, 2019, and plan to send another update later this week.
 7
          C. Update Regarding Government’s Implementation of Settlement
 8           Agreement
 9
                         Settlement Agreement Implementation
10
             SETTLEMENT              DESCRIPTION                    NUMBER
11              PROCESS
         Election Forms 3        Total number of executed     344 (220 Parents/124
12                               election forms received           Children)4
                                 by the Government
13                                  • Number who elect         188 (121 Parents/67
                                                                    Children)
14                                      to receive
                                        settlement
15                                      procedures
16
17
18
19 (2,816 total) and who had departed the United States on or before June 26, 2018.
20 Any parents of separated children referred to ORR after June 26 would have been
   subject to the preliminary injunction, and thus had the opportunity to elect or waive
21 reunification.
22 3 The number of election forms reported here is the number received by the
23 Government as of March 2, 2019.
     4
    The number of children’s election forms is lower than the number of parent election
24
   forms because in many instances a parent electing settlement procedures submitted
25 an election form on his or her own behalf or opposing counsel e-mailed requesting
26 settlement implementation for the entire family, but no separate form was submitted
   on behalf of the child.
27
28

                                             7                             18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5740 Page 9 of 18




 1                                 • Number who               156 (99 Parents/57
                                                                  Children)5
                                       waive settlement
 2                                     procedures
 3       Interviews             Total number of class                1386
                                members who received
 4                              interviews
                                   • Parents who                      72
 5                                     received
 6                                     interviews
                                   • Children who                     66
 7
                                       received
 8                                     interviews
 9       Decisions              Total number of CF/RF                65 7
                                decisions issued for
10                              parents by USCIS
                                   • Number of parents               65 8
11                                     determined to
12                                     establish CF or RF
                                       upon review by
13                                     USCIS
14                                 • Number of parents                0
                                       whose CF or RF
15
16   5
     The number of children’s waivers is lower because some parents have submitted
17 waivers only for themselves and some parents who have waived reunification also
   waived settlement procedures and have therefore not provided a form for the child.
18
   6
     Some individuals could not be interviewed because of rare languages; these
19 individuals were placed in Section 240 proceedings.
20 7 This number is the aggregate of the number of parents whose negative CF/RF
21 determinations were reconsidered, the number of parents whose negative CF/RF
   determination was unchanged, and the number of individuals who were referred to
22 Section 240 proceedings without interview because of a rare language. This number
23 excludes 12 cases where a parent already had a Notice to Appear from ICE or was
   already ordered removed by an IJ (which are included in the interview totals).
24 8
     This number includes parents who received positive CF/RF determinations upon
25 reconsideration, parents who received a Notice to Appear based on their child’s
26 positive CF determination, and parents who were placed in Section 240 proceedings
   due to a rare language.
27
28

                                            8                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5741 Page 10 of 18




 1                                         finding remains
                                           negative upon
 2                                         review by USCIS
                                    Total number of CF                     73 9
 3                                  decisions issued for
                                    children by USCIS
 4                                                                        73 10
                                       • Number of
 5                                         children
                                           determined to
 6
                                           establish CF by
 7                                         USCIS
 8                                     • Number of                          0
                                           children
 9                                         determined not to
10                                         establish CF by
                                           USCIS
11       Removals                   Number of class                       94 11
                                    members who have been
12                                  returned to their country
                                    of origin as a result of
13                                  waiving the settlement
                                    procedures
14
15
            Discrepancies in the Reported numbers of Settlement Election Forms
16
17            The parties have discussed Plaintiffs’ inquiries regarding the discrepancy in
18 the numbers of settlement election forms reported by the parties, and Defendants
19
20
21   9
    This number is the aggregate of the number of children who received a positive CF
22 determination, the number of children who received a negative CF determination,
   and children who were referred to Section 240 proceedings without interview
23 because of a rare language.
24   10
     This number includes children who received a positive CF determination, children
   who received a Notice to Appear as a dependent on their parent’s positive CF
25
   determination, and children who were placed in Section 240 proceedings due to a
26 rare language.
     11
27        This number is as of March 2, 2019.
28

                                                9                               18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5742 Page 11 of 18



     have provided an explanation to Plaintiffs as to why they believe the discrepancy
 1
 2 exists. Plaintiffs stated that they would further review this issue and follow up with
 3
     the Government. Defendants continue to notify the Plaintiffs in any case where a
 4
 5 settlement election form is received for a non-class member.
 6      D. Pending Motion Regarding Released Settlement Class Members
 7
           In accordance with the Court’s February 22, 2019 order, on February 28,
 8
 9 Defendants provided counsel for Plaintiffs with a list of settlement class members
10 who may be subject to final removal orders. ECF No. 362 ¶ 1. Also in accordance
11
     with that order, ICE has provided guidance advising its personnel that “class
12
13 members subject to the settlement agreement in this case may not be removed
14 without first providing them with notice of the settlement and an opportunity to
15
     decide whether they wish to take advantage of the settlement procedures or waive
16
17 those procedures.” Id. ¶ 2. Counsel for Plaintiffs have informed counsel for
18 Defendants that they are reviewing the list that Defendants provided to them, and
19
   that they intend to follow up with the government on this issue. Defendants will
20
21 continue to meet and confer with Plaintiffs on this issue as appropriate.
22      E. Children Awaiting Placement.
23
           On February 12, 2019, Plaintiffs provided Defendants a list of 22 children
24
25 who Plaintiffs believed were awaiting placement with a sponsor after their parent
26 waived reunification. On February 16, 2019, Defendants provided Plaintiffs with
27
28

                                             10                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5743 Page 12 of 18



     information about each of these 22 children. Plaintiffs have not submitted any
 1
 2 follow-up requests with regard to these children.
 3
        F. Government Processes, Procedures, and Tracking, for Separations Since
 4         June 26, 2018.
 5
               1. Data Requested by Plaintiffs
 6
 7         Defendants have provided Plaintiffs with a report containing information

 8 regarding families separated since the Court’s June 26, 2018 preliminary-injunction
 9
     order. Defendants intend to provide updated reporting to Plaintiffs on a regular basis.
10
11             2. Processes and Procedures

12         In the last joint status report, Defendants submitted a summary outline
13
     memorializing the processes, procedures, tracking, and communication between the
14
15 agencies that have been adopted by the agencies since June 26, 2018. The outline
16 also provided an overview of the options for separated parents and children to obtain
17
     information and assess their options for reunification. Since the last joint status
18
19 report, as requested by the Court at the February 21, 2019 status conference, counsel
20 for Defendants has also reached out to representatives for the Bureau of Prisons and
21
   the U.S. Marshals Service to ensure that those entities are included in further
22
23 discussions regarding these processes and procedures.
24         On March 4, 2019, Plaintiffs and lawyers for the children’s service providers
25
     sent comments and questions in response to the government’s proposals. Defendants
26
27
28

                                               11                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5744 Page 13 of 18



     are reviewing those comments and questions, and will continue to meet and confer
 1
 2 with Plaintiffs on these issues.
 3
          F. Additional Information Requests.
 4
 5          Plaintiffs have submitted numerous additional requests for information related

 6 to various individual class members. Defendants have been working with Plaintiffs
 7
     to provide the requested information.
 8
 9        II. MS. L. PLAINTIFFS’ POSITION
10 1.       Centralized Database and Procedures and Standards to Govern Further
11          Separations
12          The parties are meeting and conferring on how to addressing the continuing
13 separations. Plaintiffs are consulting with stakeholders, including legal service
14 providers for both parents and children. With their input, Plaintiffs have sent the
15 government initial responses to the outline included in the February 20 JSR.
16 2.    Information Regarding Parents Separated from Children After June 26
17          Plaintiffs have requested additional information and clarification from the
18 government regarding details of the post-June 26 separations. The parties are
19 meeting and conferring on this issue.
20 3.       Steering Committee Progress
21          The Steering Committee has successfully contacted and confirmed the
22 preferences of nearly all removed parents with respect to reunifications. On
23 February 21, the government reported that, as of February 14, 43 children with
                                           12
24 removed parents remained in ORR custody. The Committee has delivered
25   12
      As discussed at the October 25 Status Conference, in this Joint Status Report
26 Plaintiffs are reporting a set of detailed numbers based only on the government’s
   most recent list of children in ORR custody with removed parents.
27
28

                                              12                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5745 Page 14 of 18




 1 preferences for the parents of 40 of those children, and those children are awaiting
 2 placement with sponsors in accordance with their parents’ submitted preferences.
 3 The circumstances for the remaining three children are as follows: (i) one child’s
 4 parent is seeking to return to the United States under the Settlement Agreement,
 5 (ii) the Steering Committee has been continuing efforts to regain communication
 6 with the parent of one child, and (iii) the Steering Committee has advised the
 7 government that no parental preference will be forthcoming from the parent of one
 8 child due to complex and individualized family circumstances.
 9         The status of efforts based on the government’s February 14 list of 43
10 children in ORR custody with removed parents appears in the table immediately
11 below.
12   Removed parents identified by the government to the Steering               43
13   Committee as of 2/14/2019
14
     Parent’s final preference has been communicated to the government          40 13
15
        • Parent has elected reunification in Country of Origin                 0
16
17      • Parent has elected to waive reunification in Country of Origin        40
18   Total number of cases that the Steering Committee has indicated to         2
19   the government should be set aside
        • No parental preference will be forthcoming due to complex and         1
20
            individualized family circumstances
21      • Parent with whom the Steering Committee is continuing efforts         1
            to regain communication
22
     Total number of cases where the parent seeks to return to the U.S.         1
23   under the Settlement Agreement and has thus not yet made an
24   election

25
           13
26                As noted above, for one child, the Steering Committee has determined
   that, due to its inability to reach the removed parent, reporting the preference of the
27 non-removed parent is appropriate.
28

                                              13                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5746 Page 15 of 18



              1.     Children Whose Parents Have Submitted Preferences Are Still
 1
                     Detained
 2
           On February 12, the Steering Committee provided to the government
 3
     information regarding 22 children who had been in ORR custody for at least five
 4
     months following the submission of a final reunification election. The government
 5
     provided detailed information regarding these children on February 16, which the
 6
     Steering Committee appreciates. Nine of these 22 children had been discharged to
 7
     a sponsor as of February 14. The Steering Committee will continue to meet and
 8
     confer with the Government regarding the remaining children.
 9
              2.     Identifying the Population of Removed Parents
10
           At the November 30 Status Conference, the Court requested the parties to
11
     agree upon a baseline of the total number of parents who were removed following
12
     separation from their children, so as to provide the Court with a complete
13
     accounting of the reunification process. Although the Steering Committee has
14
     conferred with the government regarding how to calculate the baseline, the
15
     government has not yet provided the proposed baseline to the Steering Committee.
16
           With respect to the 149 additional separated children in ORR custody,
17
     identified by the government in the December 12 Joint Status Report, the
18
     information provided by the government to the ACLU and Steering Committee
19
     shows that 64 of these separated children have a parent who was removed from the
20
     United States following separation. The Steering Committee will continue to meet
21
     and confer with the government regarding this population and intends to contact
22
     these parents to ensure that their reunification preferences have been satisfied and
23
     their rights have been respected.
24
25
26
27
28

                                              14                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5747 Page 16 of 18




 1 III.    MMM Plaintiffs’ Positions
 2
 3         On February 28, 2019, per the Court’s February 22, 2019 Order (ECF No.

 4 362), the Government provided Dora and M.M.M. counsel with a list of class
 5
     members with removal orders, which includes individuals with either expedited
 6
 7 removal orders or final removal orders. The list was created as of September 24,
 8 2018. Plaintiffs’ counsel are examining the list to determine how many of the
 9
   individuals on the list have provided signed settlement forms, and how many have
10
11 not. The next step will be determining the best way to identify persons on the list
12
     with expedited removal orders. As the Court directed in its February 22 Order,
13
14 Plaintiffs’ counsel plan to meet and confer with the Government on this issue.
15         In addition, the parties continue to work together to implement the
16
     settlement agreement approved on November 15, 2018. Counsel for Plaintiffs are
17
18 providing the government with signed waiver forms as they are received from
19
     class members (detained and released). The parties are meeting and conferring
20
21 on settlement implementation issues as they arise. The parties are working
22 together to resolve the discrepancy between the number of waiver forms
23
   submitted by class counsel and the number of forms reported by the
24
25 Government. The parties are also working together to identify and resolve
26
     settlement issues for the small number of parents who are still in detention but
27
28

                                           15                            18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5748 Page 17 of 18




 1 who have not submitted waiver forms. The parties will alert the Court of any
 2 issues that require the Court’s guidance.
 3
 4 DATED: March 6, 2019                  Respectfully submitted,

 5                                       /s/ Lee Gelernt
                                         Lee Gelernt*
 6
                                         Judy Rabinovitz*
 7                                       Anand Balakrishnan*
                                         AMERICAN CIVIL LIBERTIES UNION
 8
                                         FOUNDATION
 9                                       125 Broad St., 18th Floor
                                         New York, NY 10004
10
                                         T: (212) 549-2660
11                                       F: (212) 549-2654
                                         lgelernt@aclu.org
12
                                         jrabinovitz@aclu.org
13                                       abalakrishnan@aclu.org
14
                                         Bardis Vakili (SBN 247783)
15                                       ACLU FOUNDATION OF SAN DIEGO
                                         & IMPERIAL COUNTIES
16
                                         P.O. Box 87131
17                                       San Diego, CA 92138-7131
18                                       T: (619) 398-4485
                                         F: (619) 232-0036
19                                       bvakili@aclusandiego.org
20
                                         Stephen B. Kang (SBN 292280)
21                                       Spencer E. Amdur (SBN 320069)
22                                       AMERICAN CIVIL LIBERTIES UNION
                                         FOUNDATION
23                                       39 Drumm Street
24                                       San Francisco, CA 94111
                                         T: (415) 343-1198
25                                       F: (415) 395-0950
26                                       skang@aclu.org
                                         samdur@aclu.org
27
28

                                           16                      18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 382 Filed 03/06/19 PageID.5749 Page 18 of 18



                                     Attorneys for Petitioners-Plaintiffs
 1                                         *Admitted Pro Hac Vice
 2
 3                                   JOSEPH H. HUNT
 4                                   Assistant Attorney General
                                     SCOTT G. STEWART
 5                                   Deputy Assistant Attorney General
 6                                   WILLIAM C. PEACHEY
                                     Director
 7                                   WILLIAM C. SILVIS
 8                                   Assistant Director
 9                                   /s/ Sarah B. Fabian
10                                   SARAH B. FABIAN
                                     Senior Litigation Counsel
11                                   NICOLE MURLEY
12                                   Trial Attorney
                                     Office of Immigration Litigation
13                                   Civil Division
14                                   U.S. Department of Justice
                                     P.O. Box 868, Ben Franklin Station
15                                   Washington, DC 20044
16                                   (202) 532-4824
                                     (202) 616-8962 (facsimile)
17                                   sarah.b.fabian@usdoj.gov
18
                                     ADAM L. BRAVERMAN
19                                   United States Attorney
20                                   SAMUEL W. BETTWY
                                     Assistant U.S. Attorney
21
22                                   Attorneys for Respondents-Defendants
23
24
25
26
27
28

                                       17                             18cv428 DMS MDD
